Label Matrix for local noticing Case 19-10655-JKO      Doc 7-1
                                            Consumer Advocacy        Filed 01/22/19
                                                              Center Inc.               Page  1 of
                                                                                           Aaron    4 Maine Atty General
                                                                                                 Frey,
113C-0                                      173 Tehnology Dr #202                           6 State House Station
Case 19-10655-JKO                           Irvine, CA 92618-2489                           Augusta, ME 04333-0006
Southern District of Florida
Fort Lauderdale
Tue Jan 22 16:23:53 EST 2019
Abante Rooter & Plumbing, Inc.              Alan Wilson, S.C. Attorney General              Bob Fuerguson, Attorney General
c/o Andrew Heidarpour, Esq.                 Office of Atty General South Carolina           Office of Attorney General Washington
Heidarpour Law Firm, PLLC                   1000 Assembly Street, Rm 519                    1125 Washington Street
1300 Pennsylvannia Ave, NW 190-318          Columbia, SC 29201-3117                         P.O. Box 40100
Washington, DC 20004-3002                                                                   Olympia, WA 98504-0100

Brian E. Frosh, Attorney General             Bryan A. Schneider, Secretary                  Bureau of Consumer Financial Protection
Office of Atty General State of Maryland     Illinois Division of Finance & Prof Reg        1700 G Street NW
200 St. Paul Place                           320 West Washington Street, 3rd Fl             Washington, DC 20552-0004
Baltimore, MD 21202-2004                     Springfield, IL 62786-0001


Carla Ogden                                  Carolyn Hahn, Sr. Lit Counsel                  Carolyn Hahn, Sr. Lit counsel
500 South Second St                          1700 G Street NW                               1700 G Street NW
Springfield, IL 62701-1705                   Washington, DC 20554-0001                      Washington, DC 20552-0003



Chad Ploof                                   Chancellor Leonard                             Christopher Dolejs
c/o Andrew Heidarpour, Esq.                  c/o Alex M. Washkowitz, Esq.                   c/o David Force, Esq.
HeidarpourLaw Firm, PLLC                     CW Law Group, P.C.                             Law Offices of Michael Lupolover, P.C.
1300 Pennsylvannia Ave                       488 Oaks Road                                  120 Sylvan Ave, Ste 303
Washington, DC 20004-3002                    Framingham, MA 01702                           Englewood Cliffs, NJ 07632-2505

Consumer Finanical Protection Bureau         Curtis T. Hill, Attorney General               David C. Evers
1700 G Street NW                             Office of Atty General State of Indiana        Department of Justice
Washington, DC 20552-0004                    302 W. Washington Street, 5th Floor            9001 Mail Service Center
                                             Indianapolis, IN 46204-4701                    Raleigh, NC 27699-9000


Deborah Morris, Deputy Enforcement Dir       Department of Consumer & Business Servic       Ellen F. Rosenblum, Atty General
1700 G Street NW                             Division of Financial Regulation               Oregon Dept of Justice
Washington, DC 20552-0003                    P.O. Box 14480                                 1162 Court St., NE
                                             Salem, OR 97309-0405                           Salem, OR 97301-4096


Evan Romanoff                                Federal Communications Commission              (p)FEDERAL TRADE COMMISSION
Office of the Attorney General               445 12th Street, SW                            ASSOCIATE DIRECTOR
445 Minnesota Street, Suite 1200             Washington, DC 20554-0005                      DIVISION OF ENFORCEMENT
Saint Paul, MN 55101-2130                                                                   600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
                                                                                            WASHINGTON DC 20580-0001

Gavin M. Gee, Dir of Finance                 George Jepsen, Attoney General                 Gordon McDonald, Attorney General
Idaho Dept of Finance                        Office of Attorney General, Connecticut        New Hampshire Dept of Justice
800 Park Blvd, Suite 200                     55 Elm Street                                  33 Capital Street
Boise, ID 83712-7768                         Hartford, CT 06106-1752                        Concord, NH 03301-6310


Graham Sorkin                                Greg Gonzales, Commissioner                    Jay Brodsky
2125 Delaware Ave, Suite A                   Tennessee Dept of Financial Insti              240 East Shore Road
Santa Cruz, CA 95060-5752                    312 Rosa L. Parks Ave, 26th Floor              Great Neck, NY 11023-2438
                                             Nashville, TN 37243-1102
                                  Case 19-10655-JKO
Jeffrey Bloomfield, Attorney at Law                      Doc 7-1 Filed 01/22/19
                                              Jeremy Jackson                         Page  2 ofBond
                                                                                        Joseph   4
301 North Main Street, Ste 2400               c/o Stephen P. DeNittis                    c/o Todd M. Friedman
Winston Salem, NC 27101-3835                  DeNittis Osefchen Prince, PC               The Law Office of Todd M. Friedman, P.C.
                                              1515 Market Street, Ste 1200               21550 Oxnard St, Ste 780
                                              Philadelphia, PA 19102-1932                Woodland Hills, CA 91367-7104

Josh Shapiro, Penn Attorney General       Justice Rillera                                Katrina G. Cardin
Office of Atty General of Pennsylvannia   Financial Enforcement Officer                  Consumer Protection Investigator
Strawberry Square                         350 Winter St, NE, Rm 410                      P.O. Box 8911
Harrisburg, PA 17120-0001                 Salem, OR 97301-3881                           Madison, WI 53708-8911


Kristi Thompson                           Lee R. Keith                                   Letitia James, Attorney General
445 12th Street, SW                       Missouri Division of Finance                   Office of Atty General New York State
Washington, DC 20554-0004                 Truman State Office Bldg. Rm 630               The Capitol
                                          Jefferson City, MO 65102                       Albany, NY 12224-0341


Maura Healey, Attorney General            Melanie G. Hall, Commissioner                  Mike Devine, Attorney General
Office of Atty General of Massachusetts   Montana Div of Banking & Financial Insti       Ohio Attorney General
1350 Main Street, 4th Floor               P.O. Box 200546                                30 E. Broad St. 14th Floor
Springfield, MA 01103-1664                Helena, MT 59620-0546                          Columbus, OH 43215-3414


Office of Attorney General                Office of the US Trustee                       Quintin Brown
1300 ’I’ Street                           51 S.W. 1st Ave.                               5810 Riley Street, Unit 2
Sacramento, CA 95814-2963                 Suite 1204                                     San Diego, CA 92110-1760
                                          Miami, FL 33130-1614


Ray Grace, Commission                     Ryan Sullivan                                  Scott Cameron, Senior Deputy Comm
North Caroolina Comm of Banks             Office of Consumer Protection                  California Dept of Business Oversight
4309 Mail Service Center                  Helena, MT 59620-0151                          Financial Services Division
Raleigh, NC 27699-4309                                                                   1515 K Street, Suite 200
                                                                                         Sacramento, CA 95814-4052

Shante Willis                             Shawna Meyer                                   State of California
45 12th Street, SW                        120 SW 10th Ave, 2nd Floor                     Attorney General Public Inquiry Unit
Washington, DC 20554-0001                 Topeka, KS 66612-1237                          Consumer Protection Division
                                                                                         P.O. Box 944255
                                                                                         Sacramento, CA 94244-2550

State of Colorado                         State of Connecticut                           State of Georgia
Phil Weiser, Attorney General             Jorge Perez, Commissioner                      Chris Carr, Attorney General
Ralph L. Carr Judicial Bldg               260 Constitution Plaza                         40 Capital Square, SW
1300 Braodway 10th Floor                  Hartford, CT 06103-1820                        Atlanta, GA 30334-9057
Denver, CO 80203-2104

State of Idaho                            State of Illinois                              State of Indiana
Lawrence G. Wasden, Atty General          Office of the Attorney General                 Indiana Dept of Financial Institution
700 W. Jefferson Street                   Consumer Protection Division                   30 South Meridian St, Ste 300
Boise, ID 83720-0010                      500 South Second St                            Indianapolis, IN 46204-3509
                                          Springfield, IL 62701-1705

State of Iowa                             State of Kansas                                State of Maine
Iowa Division of Banking                  Office of Atty General Derek Schmidt           Anne L. Head, Commissioner
200 East Grand Ave, Ste 300               Consumer Protection Division                   Maine Dept of Proff & Finance Regulation
Des Moines, IA 50309-1827                 120 SW 10th Ave, 2nd Floor                     35 State House Station
                                          Topeka, KS 66612-1237                          Augusta, ME 04333-0035
State of Maryland                Case 19-10655-JKO      Doc 7-1 Filed 01/22/19
                                             State of Massachusetts                                  Page  3 of
                                                                                                        State of 4
                                                                                                                 Minnesota
Antonio P. Salazar, Commissioner             CRA Unit                                                     Office of the Attorney General
Financial Regulation                         One South Stateion 3rd Floor                                 445 Minnesota St, Suite 1200
500 North Calvert St, Ste 402                Boston, MA 02110-2253                                        Saint Paul, MN 55101-2130
Baltimore, MD 21202-3659

State of Missouri                                    State of Montana                                     State of New Hampshire
Office of Atty General                               Montana Office of Consumer Protection                Gerald H. Little, Commissioner
Consumer Protection Division                         P.O. Box 200151                                      New Hampshire Banking Dept
P.O. Box 899                                         Helena, MT 59620-0151                                53 Regional Drive, Ste 200
Jefferson City, MO 65102-0899                                                                             Concord, NH 03301-8500

State of New York                                    State of North Carolina                              State of North Dakota
Maria T. Vullo, Superintendent of Financ             Department of Justice                                Office of Attorney General
NY Dept of Financial Services                        9001 Mail Service Center                             Gateway Professional Center
One State Street                                     Raleigh, NC 27699-9001                               1050 E. Interstate Ave, Ste 200
New York, NY 10004-1511                                                                                   Bismarck, ND 58503-5574

State of Ohio                                        State of Oklahoma                                    State of Oregon
Jacqueline T. Williams, Director                     Office of Attorney General                           Department of Consumer & Business Servic
Ohion Dept of Commerce                               Consumer Protection Unit                             Division of Financial Regulation
77 S. High St, 21 Floor                              313 NE 21st Street                                   350 Winter St NE Room 410
Columbus, OH 43215-6120                              Oklahoma City, OK 73105-3207                         Salem, OR 97301-3881

State of Pennsylvannia                               State of South Carolina                              State of Tennessee
Robin L. Weissmann, Secretary of Banking             David Campbell, Commissioner                         Department of Commerce & Insurance
Market Square Plaza                                  2221 Devine Street, Ste 200                          Phyllis Jordan ASA II, Consumer Affairs
17 N. Second Street. Ste 1300                        Columbia, SC 29205-2418                              500 James Robertson Pkwy
Harrisburg, PA 17101-1642                                                                                 Nashville, TN 37243-0565

State of Vermont                                     State of Washington                                  State of Wisconsin
Molly Dillon, Deputy Comm of Banking                 Levi Clemmens, Director                              Dept of Agriculture, Trade & Consumer
Vermont Dept of Financial Regulation                 Washington State Dept of Financial Insti             2811 Agriculture Dr.
89 Main Street                                       P.O. Box 41200                                       Madison, WI 53718-6777
Montpelier, VT 05620-3101                            Olympia, WA 98504-1200

Steve Kelly, Commissioner                            Stuart Abramson                                      Sue Reed
Minnesota Depart of Commerce                         522 Glen Arden Drive                                 Consumer Advocate
Golden Rule Bldg                                     Pittsburgh, PA 15208-2809                            120 SW 10th Ave, 2nd Floor
85 7th Place East, Suite 280                                                                              Jefferson City, MO 65102
Saint Paul, MN 55101-2143

Susan Laib                                           TJ Donovan, Vermont Atty General                     Time Kemp, Deputy Bank Commissioner
Lead Consume Special                                 109 State Street                                     State Bank Commof Kansas
313 NE 21st Street                                   Montpelier, VT 05609-0002                            700 SW Jackson St, Suite 300
Oklahoma City, OK 73105-3207                                                                              Topeka, KS 66603-3782


Tom Miller, Iowa Attorney General                    Wayne Stenehjem, Atty General                        Brian S Behar Esq
Iowa Dept of Justice                                 1050 E. Interstate Ave, Ste 200                      1855 Griffin Road, Suite A-350
Hover State Office Bldg                              Bismarck, ND 58503-5574                              Ft. Lauderdale, FL 33004-2210
1305 E. Walnut Street
Des Moines, IA 50319-0106



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Federal Trade Commission         Case 19-10655-JKO            Doc 7-1          Filed 01/22/19      Page 4 of 4
Tara Isla Koslov, Chief of Staff
600 Pennsylvannia Ave, NW
Washington, DC 20580




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